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                              UNITED STATES BANKRUPTCY COURT
 8
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     In re                                          Lead Case No. 10-18668-KAO
10
     FREDERICK D. BERG,                            (Administratively Consolidated with Case Nos. 10-
11
     MERIDIAN LIQUIDATING, LLC (the                23755-KAO, 10-23756-KAO, 10-23757-KAO, 10-
12   “Consolidated MTR Entities”)                  23759-KAO, 10-23761-KAO, 10-23787-KAO)

13                                                  ORDER APPROVING SECOND APPLICATION
     OREGON LIQUIDATING, INC., FKA
     OREGON COACHWAYS, INC.                         FOR COMPENSATION FOR TRUSTEE AND
14
                                                    TRUSTEE’S PROFESSIONALS
15                                 Debtors.
16           THIS MATTER came on regularly for hearing on the Second Interim Application For
17
     Compensation of Trustee Diana K. Carey, Chapter 11 Trustee (“Trustee”) of each of the above
18
     captioned debtors, and her professionals (“Trustee’s Professionals”) Karr Tuttle Campbell (“KTC”),
19
20   McMillan LLP (“McMillan”), Orse & Company (“Orse”) and Clothier & Head (“C&H”) (collectively

21   the “Applicants”). The Court having considered all objections, and overruled the objections filed by
22
     claimants Butchart Gardens and Jurian Vreeburg, and finding that the fees and costs were reasonable
23
     and necessary, that notice was appropriate, and that the services provided by the Applicants were of
24
     substantial benefit to the estate, now therefore it is hereby:
25
26           ORDERED that the fees and reimbursement of the costs of the Applicants summarized in the

27   table below are approved and amounts indicated are authorized for disbursement (with disbursements
28
                                                                                                      Law Offices

     ORDER APPROVING SECOND APPLICATION FOR COMPENSATION FOR                  KARR TUTTLE CAMPBELL
     TRUSTEE AND KTC AND AUTHORIZING DISBURSEMENT - 1                                   A Professional Service Corporation

     #820674 v1 / 40572-001                                                    1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
                                                                                     Telephone (206) 223-1313, Facsimile (206) 682-7100



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 1   not to exceed the caps contained in the Settlement Agreement1):
 2       Name:                                                     Fees:            Costs:                           Total:
                                            Period:
 3       Berg Case
 4       Trustee                    4/1/11 – 10/31/11           $32,752.00          $174.42                  $32,926.42
         KTC                        4/1/11 – 10/31/11           $52,999.50         3,942.36                  $56,941.86
 5       Orse2                      3/1/11 – 10/31/11           $36,618.75            $0.00                  $36,618.75
         C&H                        7/1/11 – 10/31/11           $21,721.20          $730.22                  $22,451.42
 6
         Berg TOTALS                                          $144,091.45         $4,847.00                $148,938.45
 7
         MTR Case
 8       Trustee                    4/1/11 – 10/31/11           $55,180.00          $271.33                  $55,451.33
 9       KTC                        4/1/11 – 10/31/11          $232,666.00        $3,238.12                 $235,904.12
         McMillan                   6/1/11 – 10/31/11            $5,253.50          $641.15                   $5,894.65
10       Orse3                      3/1/11 – 10/31/11          $144,281.25            $0.00                 $144,281.25
         C&H                        7/1/11 – 10/31/11           $14,514.40            $6.63                  $14,521.03
11       MTR TOTALS                                           $451,895.15         $4,157.23                $456,052.38
12
         OCW Case
13       Trustee                    4/1/11 – 10/31/11            $5,073.00           $27.54                    $5,100.54
         KTC                        4/1/11 – 10/31/11           $17,347.50          $552.60                   $17,900.10
14
         Orse4                      3/1/11 – 10/31/11           $21,487.50            $0.00                   $21,487.50
15       C&H                        7/1/11 – 10/31/11            $1,292.80            $6.83                    $1,299.63
         OCW TOTALS                                            $45,200.80          $ 586.97                  $45,787.77
16
17                                                ***END OF ORDER***

18
19
20   Presented by:
     KARR TUTTLE CAMPBELL
21
22   By: ________________________________
        George S. Treperinas, WSBA #15434
23
        Daniel J. Bugbee, WSBA #42412
24      Attorneys for Diana K. Carey, Trustee
25
     1
26      “Settlement Agreement” means that agreement between the Trustee and the Liquidating Trustee of Meridian Mortgage
     Investors Fund V LLC, Case No. 10-17952-KAO which was approved by this Court herein [Dkt# 787].
     2
27     All but $7,393.75 of this amount has already been disbursed to Orse pursuant to the order employing him.
     3
       All but $28,931.25 of this amount has already been disbursed to Orse pursuant to the order employing him.
28   4
       All but $4,337.505 of this amount has already been disbursed to Orse pursuant to the order employing him.
                                                                                                             Law Offices

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 1
     Agreed to as to form; notice of presentation waived
 2   K&L GATES LLP
 3
          /s/ David Neu (via e-mail confirmation)
 4   By: ___________________
         David Neu, WSBA #33143
 5
         Attorneys for Mark Calvert, Liquidating Trustee
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                                                                                                Law Offices

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